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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       WEST PALM BEACH DIVISION

   GUDRUN KRISTOFERSDOTTIR,

             Plaintiff,

   v.                                                       Case No. 9:24-cv-80057-RLR

   CVS HEALTH CORPORATION;
   MINUTECLINIC, LLC;
   MINUTECLINIC DIAGNOSTIC OF
   FLORIDA, LLC,

             Defendants.

                                   JOINT NOTICE OF MEDIATOR SELECTION

           Plaintiff,      Gudrun      Kristofersdottir,   and    Defendants,   CVS   Health   Corporation,

  MinuteClinic, LLC, and MinuteClinic Diagnostic of Florida, LLC, hereby notify the Court that

  the parties have agreed to select D. Andrew Byrne, certified mediator for the Southern District of

  Florida, to mediate the above-captioned matter on November 6, 2024 at 9:00 a.m. at the following

  tentative location: 801 Brickell Ave., Suite 900, Miami, Florida 33131.

  Dated: May 28, 2024

  Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on May 28, 2024, a true and correct copy of the foregoing has been

  filed with the CM/ECF website and thereby served to all counsel of record.


                                                       /s/ Nancy A. Beyer Benton
                                                       Nancy A. Beyer Benton




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